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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,

Plaintiff,

v.

RAUL RICARDO TERAN,

Defendant.                                                 No. 07-30136-DRH




                                      ORDER




HERNDON, Chief Judge:

             Before the Court is a Motion for Extension of Time (Doc. 538) filed by

Defendant Raul Ricardo Teran on August 30, 2010. Defendant Teran stated that his

objections to the Presentence Investigation Report (PSR) were due on August 30,

2010 but that his counsel needed additional time to review the PSR with Defendant

and file any objections. Defendant stated that the earliest time that he would be able

to speak with his counsel would be September 1, 2010 as Defendant resides in

Arizona. The Government has no objection to the motion. Accordingly, the Court

GRANTS Defendant Teran’s motion for extension of time (Doc. 538). Defendant
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                                    ID #1815



Teran will have up to and including September 10, 2010 in which to file objections

to the PSR.

              IT IS SO ORDERED.

              Signed this 7th day of September, 2010.



                                            /s/    DavidRHer|do|
                                            Chief Judge
                                            United States District Court




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